Case: 6:17-cv-00157-CHB-HAI Doc #: 52 Filed: 04/23/18 Page: 1 Eastern
                                                              of 2 - Page  ID#:
                                                                      District of443
                                                                                 Kentucky
                                                                                        FILED
                              UNITED STATES DISTRICT COURT
                                                                                      Apr - 23 2018
                              EASTERN DISTRICT OF KENTUCKY                            Robert R. Carr
                                                                                 Clerk, U.S. District Court
                                   GENERAL ORDER NO. 18 - 04

 IN RE: MATTERS ASSIGNED TO THE HONORABLE CLARIA H. BOOM

                                                 ORDER


           Effective immediately, IT IS ORDERED that the following civil matters be

 REASSIGNED for further proceedings as follows:

5:14-279     Bailey v. Ingram                          5:17-8     Williams v. McDonald
5:15-337     Jones v. Clark County, Kentucky           5:18-209   Afshari v. Copper John Corporation
5:16-309     Seaton v. US Dept of Ag                   5:18-197   Zeefe v. American Heritage Life
5:16-92      Sherwood v. Cook Out                      5:18-49    SEC v. Scurlock
5:17-506     Osborne v. CF Kentucky Owners             5:18-32    Bell v. Bell
5:17-478     Marstella v. AT&T                         5:18-24    Brookdale Sr. Living v. Pace
5:17-464     Elkins v. Wal-Mart                        5:18-17    Citizens Capital v. Blue Diamond
5:17-457     Baker v. Wal-Mart                         5:18-16    Fields v. Stanley
5:17-450     Sparks v. Fifth Third                     5:18-11    Imagetec v. Lexmark
5:17-435     Yeoman v. Weltman                         5:18-03    Dunn v. Speer
5:17-430     Blazer v. Chrisman Mill Farms LLC         6:16-187   Farrington v. Biomet
5:17-404     Johnson v. Wells Fargo Bank               6:17-326   Lunsford v. Experian Information
5:17-393     Hager v. Pennsylvania Higher Ed           6:17-324   Collett v. Nissan North America
5:17-375     Shook v. Dickson                          6:17-308   Atlantic Specialty v. Stanley
5:17-361     Farias v. RCI                             6:17-221   Bowling v. Wal-Mart
5:17-351     Norton v. Toothman                        6:17-157   Wilson v. Beacon Transport
5:17-349     Hart v. PNC Financial                     6:17-154   Irwin v. Auto-Owners
5:17-309     Crawford v. EKU                           6:18-118   Koger v. State Farm
5:17-303     Slack v. Equifax                          6:18-114   Cox v. CTA Acoustics
5:17-290     Cruse v. Schneider                        6:18-112   Meece v. Life Insurance Company
5:17-259     Serdyuk v. Allstate                       6:18-106   Hardwick v. First Resolution Investment
5:17-240     Tuttle v. Baptist Health Medical          6:18-63    Marcum v. Enhanced Recovery
5:17-237     Eckstein v. L’Escalade Fitness            6:18-53    Byrd v. Tri-State Health
5:17-235     Dockies v. Experian                       7:17-185   Anderson v. Wheeler
5:17-228     Union Security Insurance v. Hockensmith   7:17-184   White v. USA
5:17-213     Highley v. 21st Century                   7:18-46    Justice v. Safeco Insurance Company
5:17-186     Lear v. Hitachi America                   7:18-44    Barker v. Wal-Mart
5:17-183     Day v. Air Methods Corporation            7:18-40    Columbia Gas v. Lockard
5:17-173     Philpot v. LM Communications of SC        7:18-38    Chaffins v GEICO
5:17-146     Miller v. Lawson                          7:18-35    Mineer v Specialized Load Servicing
5:17-106     Davis v. T. Monroe                        7:18-34    Daily Underwriters v. Caudill
5:17-69      Gray v. Hampton                           7:18-32    Arch Coal v. Quest
5:17-33      Anderson v. USA                           7:18-29    Kendrick v Aetna Life Insurance
Case: 6:17-cv-00157-CHB-HAI Doc #: 52 Filed: 04/23/18 Page: 2 of 2 - Page ID#: 444



7:18-25     Nationwide v. Tackett
7:18-21     Smith v. GEICO
7:18-20     Minix v. Shinault
7:18-12     Hite v. JKM
7:18-11     Huang v. Presbyterian Church




          A copy of this Order shall be filed in each appropriate case with a copy to all counsel.

                                Dated April 23, 2018.
